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RAÚL R. LABRADOR
ATTORNEY GENERAL

LINCOLN DAVIS WILSON, ISB #3586
Chief, Civil Litigation and
Constitutional Defense

BRIAN V. CHURCH, ISB #9391
Deputy Attorney General
P.O. Box 83720
Boise, ID 83720-0010
Telephone: (208) 334-2400
Facsimile: (208) 854-8073
lincoln.wilson@ag.idaho.gov
brian.church@ag.idaho.gov

Attorneys for Defendant State of Idaho

                      UNITED STATES DISTRICT COURT

                               DISTRICT OF IDAHO

UNITED STATES OF AMERICA,                  Case No. 1:22-cv-00329-BLW

     Plaintiff,                            NOTICE OF APPEAL

v.

THE STATE OF IDAHO,

     Defendant.




       Notice is hereby given that the State of Idaho, Appellant, hereby appeals to the

United States Court of Appeals for the Ninth Circuit. The State of Idaho appeals the

district court’s May 4, 2023 Memorandum Decision and Order [135] denying the State

of Idaho’s motion to reconsider the district court’s August 24, 2022 Memorandum

Decision and Order [95] granting a preliminary injunction.




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                             FORM 1 INFORMATION

   Date case was first filed in U.S. District Court:    August 2, 2022

   Date of judgment or order being appealed: May 4, 2023 and August 24, 2022

   Docket entry number of judgment or order appealed from: 135 (Memorandum

    Decision and Order), 95 (Memorandum Decision and Order)

   Docketing fee of $505 paid to the U.S. District Court for the District of Idaho.

   Appellant: State of Idaho

       o This is not a cross-appeal

       o There is a pending appeal in this case. Its case number is 23-35153. The

          caption for this appeal is: UNITED STATES OF AMERICA, Plaintiff-
          Appellee, v. STATE OF IDAHO, Defendant-Appellee, v. MIKE MOYLE,

          Speaker of the Idaho House of Representatives, et al., Movants-

          Appellants.

   A representation statement follows on the next page.

    DATED: June 28, 2023.

                                      STATE OF IDAHO
                                      OFFICE OF THE ATTORNEY GENERAL


                                      By: /s/ Lincoln Davis Wilson
                                         LINCOLN DAVIS WILSON
                                         Chief of Civil Litigation
                                         and Constitutional Defense




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                            REPRESENTATION STATEMENT

I.    Counsel for Appellant (State of Idaho)

LINCOLN DAVIS WILSON
Chief of Civil Litigation and Constitutional Defense
lincoln.wilson@ag.idaho.gov

BRIAN V. CHURCH
Deputy Attorney General
brian.church@ag.idaho.gov

Idaho Office of the Attorney General
PO Box 83720
Boise, ID 83720-0010
(208) 334-2400

II.   Counsel for Appellees (United States of America)

BRIAN DAVID NETTER
DOJ-Civ
Civil Division
brian.netter@usdoj.gov

DANIEL SCHWEI
DOJ-Civ
Federal Programs Branch
daniel.s.schwei@usdoj.gov

JULIE STRAUS HARRIS
DOJ-Civ
Civil Division, Federal Programs Branch
julie.strausharris@usdoj.gov

LISA NEWMAN
DOJ-Civ
Civil Division, Federal Programs Branch
lisa.n.newman@usdoj.gov
ANNA LYNN DEFFEBACH
DOJ-Civ
Civil Division, Federal Programs Branch
anna.l.deffebach@usdoj.gov

CHRISTOPHER A. EISWERTH
DOJ-Civ
Federal Programs Branch
christopher.a.eiswerth@usdoj.gov



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EMILY NESTLER
DOJ-Civ
emily.b.nestler@usdoj.gov

U.S. Department of Justice
Civil Division, Federal Programs Branch
1100 L Street, N.W.
Washington, D.C. 20005
(202) 993-5182

III.   Counsel for Limited Intervenors (Mike Moyle, Speaker of the Idaho
       House of Representatives; Chuck Winder, President Pro Tempore of
       the Idaho Senate; the Sixty-Seventh Idaho Legislature)

DANIEL W. BOWER
Morris Bower & Haws PLLC
dbower@morrisbowerhaws.com
MONTE NEIL STEWART
Attorney at Law
monteneilstewart@gmail.com

Morris Bower & Haws PLLC
1305 12th Ave. Rd.
Nampa, ID 83686
(208) 345-3333




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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 28, 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which sent a Notice of
Electronic Filing to the following persons:

BRIAN DAVID NETTER                             DANIEL W. BOWER
DOJ-Civ                                        Morris Bower & Haws PLLC
Civil Division                                 dbower@morrisbowerhaws.com
brian.netter@usdoj.gov
                                               MONTE NEIL STEWART
DANIEL SCHWEI                                  Attorney at Law
DOJ-Civ                                        monteneilstewart@gmail.com
Federal Programs Branch
daniel.s.schwei@usdoj.gov                      Attorneys for Intervenors-Defendants

JULIE STRAUS HARRIS                            JAY ALAN SEKULOW
DOJ-Civ                                        sekulow@aclj.org
Civil Division, Federal Programs
Branch
julie.strausharris@usdoj.gov                   JORDAN A. SEKULOW
                                               jordansekulow@aclj.org
LISA NEWMAN
DOJ-Civ                                        STUART J. ROTH
Civil Division, Federal Programs
Branch                                         Stuartroth1@gmail.com
lisa.n.newman@usdoj.gov
                                               OLIVIA F. SUMMERS
ANNA LYNN DEFFEBACH                            osummers@aclj.org
DOJ-Civ
Civil Division, Federal Programs
Branch                                         LAURA B. HERNANDEZ
anna.l.deffebach@usdoj.gov                     lhernandez@aclj.org

CHRISTOPHER A. EISWERTH                        Attorneys for Amicus Curiae
DOJ-Civ                                        American Center for Law & Justice
Federal Programs Branch
christopher.a.eiswerth@usdoj.gov
                                               WENDY OLSON
EMILY NESTLER                                  Stoel Rives LLP
DOJ-Civ                                        wendy.olson@stoel.com
emily.b.nestler@usdoj.gov
                                               JACOB M. ROTH
Attorneys for Plaintiff United States of       Jones Day
America                                        jroth@jonesday.com
LAURA ETLINGER                                 AMANDA K. RICE
New York State Office
of the Attorney General                        Jones Day
laura.Etlinger@ag.ny.gov                       arice@jonesday.com



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Attorney for Amici States                      CHARLOTTE H. TAYLOR
California, New York, Colorado,                Jones Day
Connecticut, Delaware, Hawaii, Illinois,
Maine, Maryland, Massachusetts,                ctaylor@jonesday.com
Michigan, Minnesota, Nevada, New               Attorneys for Amici Curiae
Jersey, New Mexico, North Carolina,            The American Hospital Association and
Oregon, Pennsylvania, Rhode Island,            the
Washington, and Washington, D.C.               Association of American Medical
                                               Colleges

                                               SHANNON ROSE SELDEN
                                               Debevoise & Plimpton LLP
                                               srselden@debevoise.com

                                               ADAM B. AUKLAND-PECK
                                               Debevoise & Plimpton LLP
                                               Aaukland-peck@debevoise.com

                                               LEAH S. MARTIN
                                               Debevoise & Plimpton LLP
                                               lmartin@debevoise.com

                                               Attorneys for Amici Curiae American
                                               College of Emergency Physicians, Idaho
                                               Chapter of the American College of
                                               Emergency Physicians, American
                                               college of Obstetricians and
                                               Gynecologists, Society for Maternal-
                                               Fetal Medicine, National Medical
                                               Association, National Hispanic Medical
                                               Association, American Academy of
                                               Pediatrics, American Academy of
                                               Family Physicians, American Public
                                               Health Association, and American
                                               Medical Association

                                                 /s/ Lincoln Davis Wilson
                                                 LINCOLN DAVIS WILSON




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